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                    IN THE UNITED STATES DISTRICT COURT

                  FOR THE WESTERN DISTRICT OF WISCONSIN

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

UNITED STATES OF AMERICA,
                                                              ORDER
                           Plaintiff,
                                                              06-cr-141-bbc
             v.

LISA M. HARDING,

                           Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

      At the April 2, 2010 initial appearance on the revocation of defendant’s supervised

release, the United States appeared by Meredith Duchemin, Assistant United States

Attorney, and Michael Nolan, United States Probation Officer. Defendant appeared in

person and by counsel, Michael Lieberman. At the hearing, defendant waived her right to

a preliminary hearing and to a hearing on detention.

      A hearing on revocation was set for April 13, 2010, at 12:40 p.m. before United




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States District Judge Barbara B. Crabb.

      Entered this 2d day of April, 2010.

                                          BY THE COURT:
                                          /s/
                                          BARBARA B. CRABB
                                          District Judge




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